Case 2:05-cr-20108-SH|\/| Document 9 Filed 07/06/05 Page 1 of 2 Page|D 4

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WESTERN DISTRICT OF TENNESSEE
Western Division 05 Jm- ""6 PH ll us

ll'[’MlS M. GCUB_
us asset count
UNITED STATES oF AMERICA w pp is asserts

-vs- Case No. 2:05cr20108-01Ma

ALFRED JAMISON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the , it is ORDERED that a detention hearing is Set for WEDNESDAY,
JULY 6, 2005 at 2:15 P.M. before United States Magistrate Judge S. 'I`homas Anderson in
Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant Shall be held in custody by the United States
Marshal and produced for the hearing.

Date: July l, 2005 ,--~ '
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) Will flee or (b) will obstruct or attempt to obstruct justiee, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8185) Order of Temporal’tf Detention

This document entered on the docket sheet ln compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20108 Was distributed by faX, mail, or direct printing on
July l2, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

